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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



    KENNETH SEVERA, et al.,
                                              Case No. 20–cv–06906–ESK–AMD
               Plaintiffs,

        v.
                                                            ORDER
    SOLVAY, et al.,

               Defendants.


        THIS MATTER having come before the Court on the motion for final
   approval of the class-action settlement filed by plaintiffs (ECF No. 248) and
   objectors’ motions to seal (ECF Nos. 238, 253); and the Court having held a final
   fairness hearing today, December 17, 2024, (Hearing) (ECF No. 247); and for
   the reasons stated on the record at the Hearing,

             IT IS on this 17th day of December 2024      ORDERED that:

        1.     The motion for final approval (ECF No. 248) is GRANTED.

        2.    The Court finding that objectors’ motions to seal are deficient under
   Local Civil Rule 5.3 and defendants representing that the material to be sealed
   is subject to confidentiality orders, the motions at ECF Nos. 238 and 253 are
   DENIED WITHOUT PREJUDICE. Materials shall remain under seal until
   further ordered.

        3.    The parties and objectors are directed to meet and confer to resolve
   the alleged violation of confidentiality orders.

       4.   If the parties are unable to come to a resolution, objectors may file
   renewed motions compliant with Local Civil Rule 5.3.

        5.     The parties are directed to obtain a transcript of the Hearing.



                                                   /s/ Edward S. Kiel
                                                  EDWARD S. KIEL
                                                  UNITED STATES DISTRICT JUDGE
